                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                              *

       vs.                                            *       Case No.: 21-cr-196-RDB

SIDHARTHA KUMAR MATHUR                                *

       Defendant                                      *

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           CONSENT MOTION FOR APPROPRIATE RELIEF

       The defendant, Sidhartha Mathur (“Mr. Mathur”), by and through his attorney Nicholas

G. Madiou, and Brennan, McKenna & Lawlor, Chartered, hereby files this consent motion for

appropriate relief in the above-captioned case. In this motion, Mr. Mathur requests that this

Honorable Court order the Clerk’s Office for the United States District Court for the District of

Maryland to photocopy and provide a copy of Mr. Mathur’s U.S. passport to undersigned

counsel via electronic mail. In support of this request, counsel state as follows:

       1.      On December 21, 2020, the United States of America charged Mr. Mathur by

criminal complaint with various offenses. See ECF Dkt. No. 1.

       2.      Mr. Mathur made his initial appearance and was released on pre-trial supervision.

       3.      Following his release on conditions, Mr. Mathur turned in his U.S. Passport to the

Clerk’s Office of the United State District Court for the District of Maryland.

       4.      On June 10, 2021, Mr. Mathur appeared before this Honorable Court and pleaded

guilty pursuant to a written plea agreement to making False Statements, pursuant to 18 U.S.C. §

1001(a)(2). Sentencing is currently scheduled for September 9, 2021.

       5.      At this time, in preparation for sentencing, the undersigned counsel seeks access

to Mr. Mathur’s U.S. passport which is in the custody of the Clerk’s Office of the United State
District Court for the District of Maryland. For this reasons, the undersigned respectfully asks

this Court to order the Clerk’s Office for the United States District Court for the District of

Maryland to photocopy and provide a copy of Mr. Mathur’s U.S. passport to undersigned

counsel via electronic mail.

       5.         Assistant United States Attorney, Zachary A. Myers, consents to the relief sought

in this motion.

       WHEREFORE, the defendant, Sidhartha Mathur, through his counsel, respectfully

requests that this Honorable Court grant this Consent Motion for Appropriate Relief by:

       A.         Ordering the Clerk’s Office for the United States District Court for the District of

                  Maryland to photocopy and provide a copy of Mr. Mathur’s U.S. passport to

                  counsel for the Defendant via electronic mail.

       B.         And for such other and further relief as to this Court may seem just and

       reasonable.

                                                Respectfully submitted:

                                                Nicholas G. Madiou
July 22, 2021
                                                Nicholas G. Madiou
                                                6305 Ivy Lane, Suite 700
                                                Greenbelt, Maryland 20770
                                                301-474-0044 (telephone number)
                                                nmadiou@brennanmckenna.com


                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 22nd day of July, 2021, a true and accurate copy of the

foregoing Defendant’s Consent Motion for Appropriate Relief was filed via the CM/ECF filing

system and notice of such filing was served upon all parties of record.

                                                        Nicholas G. Madiou
                                                        Nicholas G. Madiou


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